         Case 1:21-cr-00386-TNM Document 175 Filed 02/07/23 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :       Case No.: 21-cr-00386 (TNM)
               v.                             :
                                              :
PAULINE BAUER,                                :
                                              :
                       Defendant.             :


                                 NOTICE OF WITHDRAWAL

       The United States of America, through undersigned counsel, hereby informs the Court

that Trial Attorney Joseph McFarlane, as counsel for the United States, is terminating his

appearance as counsel of record in this matter. All other government counsel noted on the

docket at the time of this filing will remain counsel for the United States.



                                                      Respectfully submitted,

DATED: February 7, 2023                               MATTHEW M. GRAVES
                                                      United States Attorney
                                                      D.C. Bar No. 481052

                                              By:     /s/ Joseph S. McFarlane
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